Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 1 of 32

Matt P Jacobsen

1311 La Loma Drive
Carson City, NV 89701
(408) 899-0833

 

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEVADA

3 45-cv-00504
MATT P JACOBSEN, ) Case No.:
)
Plaintiff, ) VERIFIED COMPLAINT
)
vs. ) Quiet Title (NRS 40.010),
) RESPA (12 U.S.C. § 2601),
) Dual Tracking (S.B. 321),
CLEAR RECON CORP, ) NRS 107.080,
HSBC BANK USA N.A., ) Cancellation of Instrument,
PHH MORTGAGE CORPORATION, ) FDCPA (15 U.S.C. § 1692)
)
Defendants. ) [DEMAND $400,000 |
l. Plaintiff has received notice that Defendant Clear Recon (aka Aldridge Pite) will sell his

property at a foreclosure sale on Thursday, October 8, 2015, under TSN 003906-NV. See
Exhibit A and Exhibit B. HSBC Bank claims to own the loan. See Exhibit C. However, Fannie
Mae owns the loan. See Exhibit D and Exhibit E. Therefore, HSBC Bank is not the mortgagee,
and HSBC's agent Clear Recon has no right to foreclose.

2. In addition, a foreclosure would violate the “dual tracking” provision, Section 13, of the

Paishnt $ L22._Dal lofsizes
VRAR 2—
Receipt 776 swing QM
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 2 of 32

Homeowner's Bill of Rights (SB 321). Plaintiff received a Loan Modification Offer, was
informed that PHH-HSBC would cancel the sale if Plaintiff completed a loan modification
package, and faxed the loan modification package multiple times. However, the sale was not
“canceled” but merely “postponed” until Thursday, October 8, 2015, in violation of Section 13
of S.B. 321.

3. In addition, there is no recorded Substitution appointing CLEAR RECON CORP as
trustee.

4, In addition, Plaintiff never received a notice of default and election to sell, and
presumably one was never mailed to Plaintiff as required by NRS 107.080(3).

5. in addition, Plaintiff never received a notice of the time and place of sale, and
presumably one was never mailed to Plaintiff as required by N.R.S. 107.080(4)(a). Plaintiff
obtained the information from a web page.

6. The original account number with “HSBC MORTGAGE CORPORATION (USA) a
DELAWARE CORPORATION” is 4456921.

7. On 4/15/2013, Mortgage Service Center mailed to Plaintiff a letter, stating:

Original Account Number: 4456921
New Account Number: 2019636675

HSBC BANK USA, N.A. ... has engaged PHH Mortgage Corporation (Mortgage
Service Center) to provide mortgage loan processing and sub-servicing for HSBC
customers, beginning May 1, 2013. ...
New Account Number: Beginning May 1, 2013, please include your new account
number on correspondence and payments.
8. In this Complaint, allegations marked (*) are “specifically so identified” (Rule 11) as
being likely to have evidentiary support after a reasonable opportunity for further investigation

or discovery.
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 3 of 32

9. The matter in controversy exceeds $75,000.

10. Defendants are subject to personal jurisdiction of the State of Nevada.

11. Substantial acts and omissions in this action occurred in Nevada.

12. The claims arose in Nevada and Defendants reside and/or do business in this District.

Parties

13. Plaintiff is a citizen of Nevada.

14. Defendant HSBC BANK USA N.A. (“HSBC Bank”) is a National Association and can
be served via its President and CEO, Patrick Burke, at 1800 Tysons Blvd. Suite 50, McLean, VA
22102.

15. Defendant CLEAR RECON CORPORATION (“Clear Recon”) is a California
corporation with address 4375 JUTLAND DR STE 200, SAN DIEGO CA 92117 and can be
served via its registered agent, NATIONAL REGISTERED AGENTS. INC., address 818 W
SEVENTH ST STE 930, LOS ANGELES CA 90017.

16. | Clear Recon shares the above address and the phone number 619-326-2445 with Aldridge
Pite.

17. ¢*) Aldridge Pite owns Clear Recon.

18. Defendant PHH MORTGAGE CORPORATION (“PHHMC”) is a “Mortgage Service
Center” and is a sub-servicer for “HSBC customers” and is a New Jersey corporation and can be
served via its registered agent, CSC SERVICES OF NEVADA, INC., with address 2215-B
RENAISSANCE DR, LAS VEGAS, NV 89119.

19. PHH and HSBC share the address 300 Prince Georges Boulevard Upper Marlboro, MD
20774.

Factual Allegations:

20. All the following allegations are intended to be “without limitation” and will be

supplemented by other facts to be found in discovery.
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 4 of 32

21. At all relevant times, Plaintiff was and is the owner of the property at 1311 La Loma
Drive, CARSON CITY, NV 89701 (hereafter “the Property”), legally described as:

LOT 152 AS SHOWN ON THE MAP OF PARK TERRACE SUBDIVISION
UNIT NO 1 FILED IN THE OFFICE OF THE RECORDER OF CARSON
CITY NEVADA ON MAY 6, 1965 IN BOOK 1 OF MAPS PAGE 257 AS
DOCUMENT NO. 90219

APN # 008-342-19.

22. ‘Plaintiff is in peaceful, undisputed possession of the Property.

23. Plaintiff did not make a forcible entry into the Property.

24. —_— Plaintiff is not unlawfully holding the possession of the Property by force.

25. Plaintiff has never sold the Property.

26. —_ Plaintiff is not a tenant of the Property.

27. There is no “term” (in the sense of NRS 40.250).

28. — The Property is not let to Plaintiff.

29. The Property is not leased for a specified term or period, nor by express or implied
contract.

30. The GRANT, BARGAIN AND SALE DEED to Plaintiff was dated 6/23/2005.

31. (*) No promissory note or other negotiable instrument, relevant to the Property, has been
endorsed or made payable to any Defendant other than the original source of the funds.

32. (*) No valid Substitution of Trustee has been recorded or mailed to Plaintiff.

33. (*) No Notice of Default was recorded.

34. (*) No Defendant is the owner and holder of any Note encumbering the Homestead.

35. (*) No Defendant is entitled to enforce any Note encumbering the Homestead.

36. — (*) There is no chain of title of any Deed of Trust encumbering the Homestead. leading to

any Defendant.
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 5 of 32

37.  (*) No Note encumbering the Homestead is currently held by a legal entity of the type
that is authorized to own and hold Notes (e.g. an individual, corporation, partnership, etc.)
38. (*) Any Note(s) encumbering the Homestead has/have been discharged by its/their
Holder(s) by materially and fraudulently altering them, and/or cancelling and/or renouncing
them.

THE DEED TO PLAINTIFF (2005)

39, On 6/27/2005, Joseph Allan Lantz, Jr. and Laura Lee Lantz, Husband and Wife recorded
with the Carson City Recorder, as Document #338645, a GRANT, BARGAIN AND SALE
DEED dated 6/23/2005. conveying the Property to Plaintiff.

THE DEED TO HSBC MORTGAGE CORP (USA) A DELAWARE CORP

40. On 8/21/2007, HSBC MORTGAGE CORPORATION (USA) requested the recording of
a DEED OF TRUST (“DOT”) in Carson City County, Nevada as 371195, naming “MATT P
JACOBSEN, AN UNMARRIED MAN” as “Borrower” and naming HSBC MORTGAGE
CORPORATION (USA), a DELAWARE CORPORATION address 29229 WALDEN AVENUE,
DEPEW, NY as “Lender” and naming MERS as “the beneficiary under this Security Instrument”
41. (*) At the time the DOT was signed, HSBC MORTGAGE CORPORATION (USA) was
not a member of MERS.

42. Each Defendant keeps accounting entries for each of its loans in a “general ledger” or
other ledger.

43. These accounting ledger entries show all changes to Assets, Liabilities and Owner's
Equity resulting from the loans, from the beginning to the present.

44. These accounting ledger entries can be produced in a form similar to that described in
accounting textbooks such as Intermediate Accounting by Donald E. Kieso, Jerry J. Weygandt,

and Terry D. Warfield (Wiley, 2003), and Financial Accounting by Paul D. Kimmel, Jerry J.
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 6 of 32

Weygandt, and Donald E. Kieso (Wiley, 2006).

45. Under the “matching” principle of GAAP, each Defendant can produce a ledger showing
all costs and revenues resulting from each of its loans.

46. Defendants keep records for all loans in a form ready to produce for government
inspection in case of an audit.

47. (*) The accounting ledger entries will show that Plaintiff did not receive the loan that
Defendants claim Plaintiff received.

48. | (*) The accounting ledger entries will show that the loan was not sold from HSBC
MORTGAGE CORPORATION (USA) to HSBC BANK USA. N.A.

49. (*) The accounting ledger entries will show. generally, that the transaction that
Defendants claim occurred, did not in fact occur.

THE ACQUISITION OF THE LOAN BY FANNIE MAE

50. On 10/1/2007, Fannie Mae acquired the loan. See Exhibit D.

THE CORPORATE ASSIGNMENT OF DEED OF TRUST

5t. The Corporate Assignment is invalid because Fannie Mae acquired the loan on
10/1/2007.

52. HSBC MORTGAGE CORPORATION (USA) had no authority to assign the DOT.

53. On 8/13/2012, the “Discharge Dept.” of Defendant HSBC BANK USA, N.A. requested
the recording of a CORPORATE ASSIGNMENT OF DEED OF TRUST (“Corporate
Assignment”) in Carson City County, Nevada as 425085 signed by Michael Peter, purported
Assistant Secretary of “HSBC MORTGAGE CORPORATION (USA)”, purporting to assign the
Deed of Trust and its “beneficial interest” to Defendant HSBC BANK USA. N.A.

54. The Corporate Assignment does NOT say “together with the Note.”

55. The Corporate Assignment says “for good and valuable consideration[.]”
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 7 of 32

56.  (*) No consideration was received by HSBC MORTGAGE CORPORATION (USA) in
connection with the Corporate Assignment.

57. The Corporate Assignment was purportedly notarized by PATRICIA M. MURAWSKI in
Erie County, New York. An out-of-state notarization is not accepted in Nevada.

58. (*) The notary stamp appears to be from New York.

59.  (*) However, the notarization of the CORPORATE ASSIGNMENT OF DEED OF
TRUST fails to comply with New York law.

60.  (*) Michael Peter had not read the CORPORATE ASSIGNMENT OF DEED OF TRUST
and did not know its contents.

61. (*) Michael Peter did not sign; someone else did using his name.

62. Michael Peter was not Assistant Secretary of HSBC MORTGAGE CORPORATION
(USA).

63. (*) There is no Corporate Resolution appointing Michael Peter as Assistant Secretary of
HSBC MORTGAGE CORPORATION (USA).

64. (*} PATRICIA M. MURA WSK is not a notary of New York.

65.  (*) Michael Peter did not sign in the presence of PATRICIA M. MURAWSKI.

66. (*) No other document(s) required by state law, related to the Corporate Assignment
transaction, was ever recorded in Carson City County, Nevada.

67. (*) None of the Defendants received a valid assignment of the debt in any manner.
TENDER

68.  (*) Plaintiff has paid any debt owed on the property.

69.  (*) Plaintiff would be ready, willing, and able to pay the amounts due as determined by
the court.

70.  (*) Plaintiff does not owe the debt on the property that Defendants claim.'

 

' If the plaintiff's action “attacks the validity of the underlying debt, a tender is not required since it would constitute
an affirmative of the debt.” (Onofrio v, Rice, 55 Cal.App.4th at p. 424.)
7
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 8 of 32

71. The foreclosure sale has not yet occurred, and Defendants have allegedly violated laws
related to avoiding the necessity for a foreclosure, in particular S.B. 321 and NRS 107.080. '
THE DUAL TRACKING (SECTION 13 OF S.B. 321)

72. Defendant PHH MORTGAGE CORPORATION wrote a letter to Plaintiff suggesting
loan modification, giving phone number 866-265-7066.

73. Plaintiff received a Loan Modification Offer which said to call PHH-HSBC at 1-866-265-

7066.

74. Plaintiff called PHH-HSBC at 1-866-265-7066.

75. PHH-HSBC informed Plaintiff that they would cancel the sale if Plaintiff completed a
loan modification package.

76. On or about May t5, 2015, Plaintiff faxed the loan modification package to 856-91 7-
2848.

77. Omnor about July 1, 2015, Plaintiff received a Notice of Sale (scheduled for 8/6/2015) and
again contacted PHH-HSBC about the loan modification.

78. On 7/16/2015, Plaintiff again submitted loan modification documents.

79. On 7/29/2015, Plaintiff again re-sent loan mod documents.

80. On 9/10/2015, Plaintiff called Leticia Latimer. Case Manager at PHH-HSBC, at 866-435-
7085 ext. 88426, to find out the status of the loan modification.

81. Leticia Latimer stated that she was unable to locate Plaintiff's loan mod documents.

 

‘“A number of courts have explicitly held that the tender rule applies only in cases seeking to set aside a completed
sale, rather than an action seeking to prevent a sale in the first place.” Pfeifer v. Countrywide Home Loans (2012).
211 Cal.App.4th 1250 (2012), 150 Cal. Rptr. 3d 673, LEXIS 1265, 61, Dimock v. Emerald Properties (2000), 81
Cal.App.4th 868, 877-878. Tender is not required “when the lender has not yet foreclosed and has allegedly violated
laws related to avoiding the necessity for a foreclosure.” ]d,; Mabry v. Superior Court (2010) 185 Cal.App.4th 208,
225-226.

8
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 9 of 32

82. On 9/10/2015, at the request of PHH-HSBC’s Leticia Latimer, Plaintiff re-sent loan mod
documents to PHH-HSBC.

83. Since then, Leticia Latimer has refused to discuss my acct # 2019636675, stating that the
account was “flagged” and advising Plaintiff to call Clear Recon.

84. Plaintiff checked online and discovered that the sale was not “canceled” but merely
“postponed” until Thursday, October 8, 2015, in violation of Section 13 of S.B. 321.

85. (*} The loan modification offer would have been materially different had a different
company’s underwriting standards been used.

OTHER VIOLATIONS OF S.B. 321

86. Defendants failed to provide a single point of contact.

VIOLATIONS OF NRS 107.080

87. There has been no “deficiency in performance or payment” (NRS 107.080 2.(a2),(b)).
88. The foreclosing trustee (Clear Recon) is not the original trustee.

89. The foreclosing trustee has not been substituted by the holder of the note.

90. The foreclosing trustee has not been substituted by the holder's nominee. |

91. HSBC BANK USA, N.A. does not have actual or constructive possession of the note and

is not entitled to enforce the note.

FIRST CAUSE OF ACTION - Quiet Title
(NRS 40.010)
(Against All Defendants)

 

' See Gomez v. Countrywide Bank, FSB. 2009 WL 3617650, at *2 (D. Nev. Oct.26, 2009) (as long as the note is in
default and the foreciosing trustee is either the original trustee or has been substituted by the holder of the note or the
holder’s nominee, there is no defect in the Nevada foreclosure).

9
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 10 of 32

92. This Quiet Title cause of action is not the same as the one in 3:12-cv-00486-MMD-
WGC, because the parties are different and the facts are different.

93. Plaintiff brings this action against Defendants who claim an estate or interest in the
Property, adverse to the Plaintiff, for the purpose of determining such adverse claim.

94. The property that is subject to the quiet title action is described under “Factual
Allegations” above.

95. Plaintiff seeks fee simple title based on GRANT, BARGAIN AND SALE DEED to
Plaintiff dated 6/23/2005 from Joseph Allan Lantz. Jr. and Laura Lee Lantz, recorded as
#338645.

96. Defendant HSBC BANK USA, N.A. has made an adverse claim to title consisting of the
Corporate Assignment.

97. Defendant CLEAR RECON CORP has made an adverse claim to title consisting of the
Notice of Trustees Sale.

98. (*) Defendant PHH MORTGAGE CORPORATION recorded documents, not yet known.
which cloud Plaintiff's title.

99. The date as of which the determination is being sought is the date of filing of the
Complaint in this case.

100. (*) Plaintiff has paid any debt owed on the property.

101. There is no valid debt owed on the property.'

102. Plaintiff prays for the determination of the title of the plaintiff.

103. At all times relevant to this Complaint, Plaintiff was and is in possession and has been in
continuous possession of the Property, against all the world, and have paid all lawful property

taxes thereon.

 

‘ if the plaintiff's action “attacks the validity of the underlying debt, a tender is not required since it would constitute
an affirmative of the debt.” (Onofrio v, Rice, $5 Cal.App.4th at p. 424.)
10
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 11 of 32

104. Plaintiff has superior and legal title to, and other interest in, the Property, through a
GRANT. BARGAIN AND SALE DEED from Joseph Allan Lantz, Jr. and Laura Lee Lantz
recorded as #338645.

105. At all times relevant to this Complaint, Plaintiff was and is the owner of the Property and
entitled to such ownership and use without interference by Defendants.

106. Each party who recorded a document made a corresponding claim to the Property.

107. (*)} Defendants’ claims to any right, title or interest in the property are false and without
merit.

108. (*) Defendants are not owners or holders of any Note encumbering the Property.

109. Plaintiff seeks Judgment, Order and Decree quieting title to the Property in Plaintiff, as
against Defendants, as of the date the Complaint in this case was filed, and such further equitable

relief as the Court deems proper.

SECOND CAUSE OF ACTION — RESPA, Real Estate Settlement Procedures Act
(12 U.S.C. § 2601 et seq.)
(Against Defendants HSBC BANK USA N.A., PHH MORTGAGE CORPORATION)

110. Plaintiff mailed a Qualified Written Request, with his name and account number, to
HSBC BANK USA N.A., stating reasons why Plaintiff believed that his account is in error:
HSBC BANK USA N.A. did not own the loan because Fannie Mae did (see Exhibits D, E).'

111. Plaintiff mailed a Qualified Written Request, with his name and account number, to
HSBC BANK USA N.A., requesting information about the servicing.

112. HSBC BANK USA N.A. never responded.

113. PHH became the sub-servicer on May 1, 2013 in place of HSBC BANK USA N.A.

 

"See Medrano v. Flagstar Bank, FSB, et al., 2012 U.S. App. LEXIS 25274 (“Any reasonably stated written request
for account information can be a qualified written request.”)
It
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 12 of 32

114. Plaintiff mailed a Qualified Written Request, with his name and account number, to PHH
MORTGAGE CORPORATION, stating reasons Plaintiff believed that his account is in error:
HSBC BANK USA N.A. did not own the loan because Fannie Mae did (see Exhibits D, E).

115. Plaintiff mailed a Qualified Written Request, with his name and account number, to PHH
MORTGAGE CORPORATION, requesting information about the servicing.

116. Defendant PHH MORTGAGE CORPORATION never responded.

117. Asaresult of Defendants’ wrongful actions, Plaintiff has suffered damages in an amount

to be determined at trial, for which Defendants are jointly and severally liable.

THIRD CAUSE OF ACTION - Dual Tracking (Section 13 of S.B. 321)
and other violations of S.B. 321
(Against Defendant HSBC BANK USA, N.A., PHH MORTGAGE CORPORATION)
118. Plaintiff incorporates the paragraphs listed above under “Factual Allegations,” in
particular the paragraphs under “THE DUAL TRACKING” and “OTHER VIOLATIONS OF
S.B. 321,” as if fully set forth here.
119. Asaresult of Defendants’ wrongful actions, Plaintiff has suffered damages in an amount

to be determined at trial, for which Defendants are jointly and severally liable.

FOURTH CAUSE OF ACTION - VIOLATIONS OF NRS 107.080
(Against Defendant CLEAR RECON CORP, HSBC BANK USA, N.A.)
120. Plaintiff incorporates the paragraphs listed above under “Factual Allegations,” in
particular the paragraphs under “VIOLATIONS OF NRS 107.080,” as if fully set forth here.
121. Asa result of Defendants’ wrongful actions, Plaintiff has suffered damages in an amount

to be determined at trial, for which Defendants are jointly and severally liable.

12
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 13 of 32

FIFTH CAUSE OF ACTION - Cancellation of Instrument

(Against Defendant CLEAR RECON CORP, HSBC BANK USA, N.A.)
122. Plaintiff incorporates the paragraphs listed above under “Factual Allegations” as if fully
set forth here.
123. (*) The Corporate Assignment, the July 1, 2015 Notice of Trustee’s Sale, and other
documents not yet known, were prepared and recorded without a factual or legal basis for doing
sO.
124. (*) The accounting ledger entries will show that no consideration was paid to HSBC
MORTGAGE CORPORATION (USA) by HSBC BANK USA, N.A.
125. Upon information and belief, these acts by Defendants constitute fraud, oppression and
malice.
126. Plaintiff alleges herein that the Instruments filed by Defendants in this case are all legally
insufficient and subject to cancellation.
127. Asaresult of Defendants’ wrongful actions, Plaintiff has suffered damages in an amount

to be determined at trial, for which Defendants are jointly and severally liable.

SIXTH CAUSE OF ACTION — FDCPA
(Against Defendant CLEAR RECON CORP, HSBC BANK USA, N.A., PHH
MORTGAGE CORPORATION)

128. Plaintiff incorporates the paragraphs listed above under “Factual Allegations” as if fully
set forth here.
129. CLEAR RECON CORP is not a “mortgage company” as defined in the FDCPA.
130. HSBC BANK USA, N.A. is not a “mortgage company” as defined in the FDCPA.
131. PHH MORTGAGE CORPORATION is not a “mortgage company” as defined in the
FDCPA.

13
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 14 of 32

132. On March 2, 2015, PHH-HSBC mailed a debt collection letter to Plaintiff.

133. Plaintiff timely disputed the debt.

134. PHH-HSBC failed to respond, and still continues debt collection activities beyond lawful
foreclosure.

135. Plaintiff timely disputed the July 1, 2015 Notice of Sale from Clear Recon.

136. Clear Recon failed to respond, and still continues debt collection activities beyond lawful
foreclosure.

137. The wrong party is attempting to collect the debt, since Fannie Mae owns the loan (see
Exhibits D, E).

138. These activities constitute “unfair or unconscionable means to collect or attempt to
collect any debt” in violation of 15 U.S.C. § 1692f. Congress intended the FDCPA to apply

here:

This bill also protects people who do not owe money at all. In the collector's
zeal, collection efforts are often aimed at the wrong person either because of
mistaken identity or mistaken facts. This bill will make collectors behave
responsibly towards people with whom they deal... .

House Report 95-131, 95th Cong.. Ist Sess., p. 8. Accord, Senate Report No. 95-382, p.
4, reprinted at 1997 USCCAN 1695, 1699.

139. Asaresult of Defendants’ wrongful actions, Plaintiff has suffered damages in an amount

to be determined at trial, for which Defendants are jointly and severally liable.

14
 

Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 15 of 32

Prayer for Relief:

140. WHEREFORE, Plaintiff prays this court enter an order providing relief as follows:

- (a) Plaintiff prays this honorable Court take jurisdiction of this case;

- (b) Enjoin, immediately, all Defendants, and all parties claiming under Defendant,
and their officers, agents, employees, servants, and attorneys, and those persons in
active concert or participation with any of them, during the pendency of this action,
and permanently thereafter, from instituting, prosecuting, or maintaining foreclosure
proceedings on plaintiff's property, from recording any mortgages regarding the
property; from selling, assigning or transferring mortgages or obligations relating to
the property; from instituting, prosecuting, or maintaining nonjudicial or judicial
foreclosure proceedings against the property; from otherwise encumbering the
property; from instituting, prosecuting, or maintaining eviction or F.E.D. proceedings
against Plaintiffs; or from otherwise taking any steps to deprive Plaintiffs of
ownership and/or enjoyment of the property:

- (c) An Order and Judgment quieting title in Plaintiff's name;

- (d) An Order and Judgment cancelling the Corporate Assignment, the July 1. 2015
Notice of Trustee's Sale, and other documents not yet known;

- (e) An Order compelling Defendants to record a “Release of Lien” and “Full
Satisfaction;”

- (f) An accounting from each Defendant of all funds handled relating to Plaintiff;

- (g) Damages in the amount of $400,000;

-  (h) That this Court grant such other and further relief as it deems just and proper.

141. Finally, Plaintiff is not an attorney and is inexperienced in procedure as practiced in the

Federal Courts. If this submission is found wanting in one or more particulars, it is incumbent

15
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 16 of 32

upon the Court to inform Plaintiff of the deficiencies, their specifics and assist the Plaintiff in

correcting the submission, and the Plaintiff hereby respectfully requests such assistance.

{ declare under penalty of perjury that

the foregoing is true and correct. fe “
. Lal ge
Executed on October_5 __, 2015. /s/Matt Jacobse
Matt P Jacobsen, Plaintiff, Pro Se
1311 La Loma Drive
Carson City, NV 89701

(408) 899-0833

EXHIBIT LIST

A... 7/1/2015 Notice of Trustee’s Sale by Clear Recon on behalf of (false) “beneficiary”
HSBC.

Sale date 10/8/2015: StoxPosting.com screenshot showing TS003906
C.... HSBC BANK claims to own the loan: Corporate Assignment of Deed of Trust, 8/2/2012

Fannie Mae has owned the loan since 10/1/2007: Fannie Mae Loan Lookup screenshot
dated 12/6/2012.

E... Fannie Mae owns the loan: Debt Validation Notice dated April 19, 2013

16
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 17 of 32

EXHIBIT A
 

Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 18 of 32

APN: OUH-342-19
CLEAR RECON CORP,

4375 Jutlond Drive Suite 200
San Diego. Caiifornia 9217

IS No: 003906-NV

 

Space Above this Line fur Recorder’s Use
The undersigned hereby affirms that there is ne Social Security ountber contained in this
document.

NOTICE OF TRUSTEE'S SALE

ian No, 888 ***6G7§

IMPORTANT NOTICE 10 PROPERLY OWNER:

YOU ARE tN DEFAULT UNDER A DEED OF TRUST DATED 8/17/2007, UNLESS YOU TAKE ACTION
TO PROTECT YOUR PROPERTY, IT MAY BE SOLD AT A PUBLIC SALE. IF YOU NEED AN
EXPLANATION OF THE NATURE OF THE PROCEEDING AGAINST YOU, YOU SHOULD CONTACT

A LAWYER.

On 8/6/2015 at 2:00 PM AT THE FRONT ENTRANCE OF THE CARSON CITY COURTHOUSE, 835
EAST MUSSER, CARSON CITY, NV 29701. CLEAR RECON CORP. us duly appointed trusice under aid
pursuant to Deed of Trust Recorded 8/21/2007, as Instrument No. 373195, ut Officral Records m the office of the
Revurder uf Cursen City County, Nevada cxecuted by; MATT P JACOMSEN, AN UNMARRIED MAN

ot, Ett

SPAT OR NA HONAL BANK. A CHECK DRAWN BY & SEALE OR FLDERAL CREDEF ONION, OR A
CHECK DICAWN BY A STATE OR FEDERAL SAVINGS AND LOAN ASSOCIVTION, SAVINGS

ASSOCTA TION, OR SAVINGS BANK

All sight. vite and inte-ess conveyed tu and aew eld by it und sr suid Deed of Trust ia the property sitited in said
Cuunty and State described as

iid) 1523, AS SHOWN ON THE MAP OF PARK TERRACE SUBDIVISION CNEL NOL DLE OS THE
OFFICE OF THE RECORDER OF CAKSON CITY, NEVADA ON MAY 6, 1995, 18 BOOK | OF MAPS, PAGE
247, AS DOCUMENT KO00219

PEHA-EE CRE MOS 14472014
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 19 of 32

003906-NV

the street addiess und other common designation. f any, of the real property deceticed aoove us purported to be
1312 LA LOMA DRIVE
CARSON CITY, NEVADA 89701

The undeisigned Irustec disclaims any lability for any incorrectaess of the sucet addicss and other summon
designation, if any, shown herein.

Said sate will be held, but without covenunl oar warranty, expressed or implied. regarding (tle, possession, or
encumbrances, Co pay the remaining pracipal sum of the note(s) secured by the Deed of Trust, including fees,
charges and expenses of the Trustee and of the Irusts created by said Deed of Trust The real property described
above 13 sbld as-is. the beneficiary and the undersigned Prustee arc unable to validate the condition, defects or

di .closure issues uf said property, and the purchaser of said property at said sale waives the disclosure requirements
under NRS £13 (30 by purchasing at said sale and sxgning a receipt in connection (herewith = “The total amount of
the anpatd balance of the ubligatien secured by the property te be sold and reasonable c-timated custs, expensys and
advances at the time of the initial publication of the Notice of Sale are: $355.014.99

rhe beneficiary under said Deed of Trust heretofore oxecuted and delivered to the undersigned a written Declaration
of Detault and Demand for Sale, and a written Notrce of Defauk and Election te Selt The undersigned caused said
Nunes cf Default und Election to Sell ta be recorded in the county where the real pruperty is lucated.

FOR SALE INFORMATION: (844) 477-7869 Mon -- Pri 9.00 am to 4:00 par

Date. CLFAR RECON CORP.
JUL 0 1 2015 4375 Jutland Drive Suite 206
San Diego. Calitomsa 92147

 

 

A aaias puotc or other officer completing this certificute
verilies only the identity of the mdividual whe signed the

ducameni (eo whieh this certificate is attached. and not the

trathtstness, accursey, of vaindity ot that docuntent

A moe se momen:

State at Cubloraia 45
County af sae Diege}

wee
Gin sul 4 1205 heforeme, ASHLEY JOHNSON Netny Publi,
personally appeared — Tra Wd a EY proved te me an tie bas of
swlislacton cridence} tu be the persants) whose namets) ifure subtcobed to the with sestenment and
achouwidved ta ne Uiat he-shesthey exccuted Ine same in nshershea authuresd cepa. itycies). and that bs
iistrer ‘their vignature(s$ on the instrument the persen(s). of the entity upon behall wWehecb thes porsants acted
encoded the usirament. | certify under PENAL LY OF PRIGURY onus the bows of tse State of Cudhionna that th:
ie tgeitty potagiaps is tue and correc;

 
 
 
 

 
 

WITMESS my han ard alfie Common ” otieas
these iff Notary Pabse - Calltornia
Sataluts fete :

     

Page 2 of 2
PHH-H CRO MOS O91 T2014
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 20 of 32

EXHIBIT B
 

Nevada STOR Posting & Publi: Mo ar egoF ent2 Filed 10/05/15 Page 21 of 3 Page 1 of 2

 

Nevada- STOX Posting and Publishing. LLC
9. LIC
My Apps
Home
Orders Or... More
Return

STOX File# 235894

Clients File# 003906-NV

Trustee Clear Recon Corp
Executed By Malt P Jacobsen

Property Address, City 1311 LA LOMA DRIVE CARSON CITY, NEVADA 89701
and Zip

Parcel# 008-342-19

State Nevada County Carson City

NOD Posting

NOS Posting

Publishing

Sale

Location of Sale AT THE FRONT ENTRANCE OF THE CARSON CITY COURTHOUSE, 885 EAST
MUSSER, CARSON CITY, NV 89701

Date of Sale = 10-08-2015

Current Time of Sale 2:00pm
Scheduled Sale
Date

https://jcstock.quickbase.com/db/biuuciyqt?a=dr&rhemy&rl=jzm 9/25/2015
Nevada STOR Pasting W PUA OMe: ABSENT 2 Filed 10/05/15 Page 22 of 3Page 2 of 2

The "Current Scheduled Sale Date” 1s only used if the actual sale date is after the

next postponement appearance
When a date is disclosed in the “Current Scheduled Sale Date" field this will be
the next auction date Sale times or locations do not change unless noted

Opening Bid

Trustee Sale
Notes

File Info

Created on March 2 at 10°23 AM (MST). Last updated by Posting, STOX on Sept. 14 2 26 PM at 2:26 PM
(MOT) Owned by Acosta, Miriam.

https://jcstock.quickbase.com/db/biuuciyqt?a=dr&r=hgmy &rl=jzm 9/25/2015
 

Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 23 of 32

EXHIBIT C
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 24 of 32
Case 3:12-cv-00486-MMD-WGC Document 7-10 Filed 09/18/12 Page 2 of 3

Asaessor’a/Tax 1D No. 008-342-19 RECORDED AT THE REQUEST OF
LSI TITLE AGENCY INC.

Recording Requested By: 08/13/2012 01:35pm

HSBC BANK USA NA FILE NO.425085
CARSONC CHEN. RECORDER

When Recorded Retura To: FEE Fis : 60 DEP RMH

DISCHARGE DEPT 1-800-338-4626

HSBC BANK USA NA

2929 WALDEN AVENUE

DEPEW, NY 14043

 

 

Carson City, Nevada .
SELLER'S SERVICING #:4456921 "JACOBSEN"

THE UNDERSIGNED DOES HEREBY AFFIRM THAT THIS DOCUMENT SUBMITTED
FOR RECORDING DOES NOT CONTAIN PERSONAL INFORMATION ABOUT ANY
PERSON.

Date of Assignment; August 2ad, 2012

Assignor. HSBC MORTGAGE CORPORATION (USA) at 2929 WALDEN AVENUE, DEPEW,
NY 14043

Assignee: HSBC BANK USA, N.A. at 2929 WALDEN AVENUE, DEPEW, NY 14043

Executed By: MATT P JACOBSEN, AN UNMARRIED MAN To: MORTGAGE
ELECTRONIC REGISTRATION SYSTEMS, INC. AS NOMINEE FOR HSBC MORTGAGE
CORPORATION (USA), ITS SUCCESSORS AND ASSIGNS

Date of Deed of Trust: 08/17/2007 Recorded: 08/21/2007 in Book: N/A Page: N/A as
Instrument No.: 371195 In the County of Carson City, Seate of Nevada.

Assessor's/Tax ID No. 008-342-19
Property Addeoss: 1311 LA LOMA DRIVE, CARSON CITY, NV 89701

KNOW ALL MEN BY THESE PRESENTS, that for good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, the said Assignor bereby assigns unto
the above-named Assignee, the said Deed of Trust having an original principal sum of
$246,000.00 with interest, secured thereby, with all moneys now owing or that may hereafter
become due or owing in respect thereof, and the full benefit of all the powers and of all the
covenants and provisos therein contained, and the said Assignor hereby grants and conveys unto
the said Assignee, the Assignor's beneficial interest under the Deod of Trust.

TO HAVE AND TO HOLD the said Deed of Trust, end the said property unto the said
Assignee forever, subject to the terms contained in said Deed of Trust. IN WITNESS
WHEREOF, the assignor has executed these presents the day and year first above writton:
*JM1*JM4HSBC08/02/2012 08:28:12 AM* HSBCO1HSBCA000000000000000885579°
NVCARSO* NVSTATE_TRUST_ASSIGN_ASSN * *UM4HSBC*

425085
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 25 of 32
Case 3:12-cv-00486-MMD-WGC Document 7-10 Filed 09/18/12 Page 3 of 3

CORPORATE ASSIGNMENT OF DEED OF TRUST Page 2 of 2

HSBC MORTGAGE CORPORATION (USA)
On August 2nd, 2012 .

  

Secretary #19138

STATE OF New York
COUNTY OF Erie

Ou August 2nd, 2012, before me, PATRICIA M. MURAWSKI, a Notary Public in and for Erie in
the State of New York, personally appeared MICHAEL PETER, Assistant Secretary #19138,
pertonally known to me (of proved to me on the basis of satisfactory evidence) to be the person(s)
whose name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they
executed the same in his/her/their authorized capacity, and that by his/her/their signature on the
instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the
instrument. me

 
 
   

my hand and official seal, pes ,
[worn
CLA M. MURAWSKI acu }
Notary Expires: 09/22/2012 #01MU6193733 chia

Qualified in Erie County

(This area for notarial seal)

*JM1*JM4HSBC'0G/02/2012 00:25:12 AM* HSBCO1HSBCAN00000000000000896579*
NVCARSO* NVSTATE_TRUST_ASSIGN_ASSN * "UM4HSEC*

425085
 

Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 26 of 32

EXHIBIT D
Fannie Mae f0anetbokap OPaititie MYO Document 2 Filed 10/05/15 Page 27 of 3Page | of 2

Know’ "OPTIONS e

vo Farints Moc About Us | Fanmwe Mae Help | Loan Lookup | Quesuons | En Espefo!
Rent Buy Refinance Modify Avord Foreclosure Find Resources
Horns
FORECLOSURE
Fannie Mae Loan Lookup Results Match Found CONSEQUENCES
MATT JACOBSEN ae . eee cane
1311 LALOMA OR lane precoees “_
appears that Fannie Mae owns CARSON CITY, NV 89701
your loan, based on the mfonnation Last 4 Digits of Social Securdy Number
you entered Fanewe Mae Loan Acqusition Date 10-01-2007 0
Mortgage Company HSBC BANK USA, GO TO OUR FORECLOSURE PAGE
NATIONAL ASSOCIATION

Results—Our Records indicate

* Your loan was acquited by Fannie Mae on or before May 31. 2008 Knowsng the Fane Mae Loan
Acquisition Date 1s important because some programs, such as HARP, are available only on loans
acquired by Fanme Mae on of before May 31, 2009

+ Your morigage company «¢ HSBC BANK USA, NATIONAL ASSOCIATION

+ You may be eligibie for the Home Affordable Refinance Program (HARP) cr for the Home Aflordable
Moddication Program (HAMP)—o other programe available exclusively for Fanrwe Mac borrowers

Next Steps:

To help you find the option(s) ihat might be best for your sdualion pleese answer the questions
below

Have you been delinquent on your mortgage in the past Yes No
12 months?

Mote: ir hus Case “Weinquent” means you have ped your modgege peymedt fate
by 30 days or more af any arte wt che iast 6 months Or, thet you hed more then
one tafe peyment of made & payment more then 30 days tefe mn the B-month
penod poor to fhe teat 6 mormhs

Do you anhcipate having aifficulty paying your mortgage Yes No
in the near future (next 2-3 months)?

Get Options
Other Steps Vou Can Take:
Get Help Now
Contact a Fanrwe Mae Mortgage Help Center for free housing counseling and assistance wih
your mortgage

Explore KnowYourOptions.com

Review the useful nformahon and tools on this site to leam more aboul your options.

Contact Your Mortgage Company
Confirm these cetults and obtain additonal information regarding your morigage by
contacting your morigage company

au. . ~~
Fett « wt &

#2012 Fonwe Mpz Prwacy! Lege! | FAG : Ste Map

https://www.knowyouroptions.com/loanlookup 12/6/2012
Fannie Mae BSanddek tp Obbateie MYeD Document 2 Filed 10/05/15 Page 28 of 3Page 2 of 2

https://www.knowyouroptions.com/loanlookup 12/6/2012
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 29 of 32

EXHIBIT E
 

 

Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 30 of 32

PHH Mortgage

PO Box 5452
Mt. Laurel. NJ 08054

April 19, 2013

MATT JACOBSEN
1311 LA LOMA DRIVE
CARSON CITY, NV 897010000

Re: Current Account # 4456921
New Account 4 2019636675

Debt Validation Notice — Important Notice

Dear MATT JACOBSEN,

AS you may recall, you were sent a letter dated April 15, 2013 advising you that PHH
Mortgage Corporation (“PHHMC”) will be servicing your mortgage loan referenced above
effective May 1, 2013.

As of today, the amount you owe 1s $ 312,418.05. After this date, this balance will continue to
accrue interest, late charges and other fees according to the terms of the mortgage loan FANNIE

MAE ts the owner of the mortgage loan.

This is an altempt to collect a debt, and any information obtained may be used for that
purpose. Unless you dispute the validity of the above referenced debt, or any purtion thereof,
within thirty (30) days after receipt of this notice. the debt will be assumed to be valid. If you
notify PHHMC in writing at the address noted helow within thirty (30) days after receipt of this
nulice that the debi, or any portion thereof, is disputed, PHHMC will obtain verification of the
debt or a copy of a judgment against you, and a copy of such verification or yudgment wilt be
mailed to you by PHHMC. If you make a request in writing fur the name of the original
creditor within thirty (30) days after recespt of this notice, PHHMC will provide you with the
name and address of the original creditor, if different from the current creditor referenced above.

If you would like to contact us by tclephone. please contact 1-800-936-2198.

Sincerely,

Collections Department
PH Mortgage Corporation
 

Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 31 of 32

PHH Mortgage

PO Box 5452
Mt. Laurel, NJ 08054

April 19, 2013

This is an attempt to collect a debt, and any information obtained may be used for that
purpose.

IF YOU ARE A DEBTOR IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN
BANKRUPTCY:

To the extent you are a debtor in bankruptcy or your debt obligation is subject to the
automatic stay in a bankruptcy proceeding, or if you previously received a discharge in a
bankruptcy case involving this loan, this notice is for informational purposes only and does
not constitute a demand for payment or an attempt to collect am indebtedness as your
personal obligation. You should consult legal counsel regarding your obligations, if any, to
pay the mortgage loan.

IF YOU ARE REPRESENTED BY AN ATTORNEY, PLEASE PROVIDE US WITH THE
ATTORNEY’S NAME, ADDRESS AND TELEPHONE NUMBER.

Serviecmembers on “active duty” or “active service,” or a spouse or dependent of such a
servicemember may be entitled to certain legal protections and debt relief pursuant to the
Servicemembers Civil Relief Act (50 USC App. §§ 501-597b) (SCRA). If you are entitled to
or have questions as to whether you are entitled to legal protections under the SCRA, please
go to www.militaryonesource.com/scra or call 1-800-342-9647 to find out more information.
Case 3:15-cv-00504-MMD Document 2 Filed 10/05/15 Page 32 of 32

 

ares

Wgtyyetoet fb det eet Eerie ees

 

- re - +. aM. 4 1g >>

- . ar

. 34

SOP 00 $ 35
ne a a ag

. nt 7

eo Pe EN Gt 23

’ “we
, 4 ‘ . ~-

LUOF-OF—-7F GSO gH FFP 4? 38

YOLER BwSs LS

      

va a oo
a

GALSaNOaY ADIAU]AS ONIGHVYMHOS

POS

 

   
 

: ns! \
Hat i oy Pat ou
"Be ‘ BB 7 Oy ass ee yee
